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Case 4:17-cV-OO405 Document 1-3 Filed in TXSD on 02/09/17 Page 1 of 29

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-;` CT Corporation

Service of Process
Transmittal

01 125/2017

cT Log Number 530576725

T0: Michael Johnson, Legal Assistant

The Hartford

1 Harti'ord Plz, HO-1-09
Hartford, CT 06155-0001

RE: Process Served ln Texas

Foll: Hartford Lloyd's insurance Company (Domestic State: TX)

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EL|ZABETH ESSERY, Pltf. vs. Hartford Lloyd's insurance Company, th.
Citation, Return, Petition, Request, interrogatories

410th Judicial District Court Montgomery County, TX
Case # 170100801

insurance Litigation

C T Corporation System, Dallas, TX

By Certified Mail on 01 /25f2017 postmarked: "Not Post Marked"
Texas

At or Before 10:00 a.m. on the Monday next after the expiration of 20 days after
S€l'WCe

Ana M. Ene

Daly & Black, PC
2211 Norfolk St.
Suite 800
Houston, TX 77098
713-655-1405

CT has retained the current log, Retain Date: 01 126)'2017, Expected Purge Date:
01)' 31 )'2017

image SOP

EmailNotification, Michael Johnson M|CHAEL.JOHNSON@THEHARTFORD.COM
Email i~lotification, Massimo Fraschilla Massimo.Fraschilla@thehartford.com
EmaiLNotification, Fiorla Rosenberg Fiona.Rosenberg@thehartford.com

C T Cor ration S tern
1999 Br§,:n streetys
Suite 900

Dallas, TX 75201
214-932-3601

Page1of1.~'HN

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Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This hforl'natlon does not
constitute a legal opinion as to the nature of action, the
amount oi' damages. the answer date. or anyl information
conceived in the documents themselves. Recipient is
responsi)le for interpreting said documents and for taking
appropriate action. Signatures on certified mail recebts
confirm receipt of package only. not mnnents.

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CERTIFlED MAIL ' '

 
 
 

 

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Print Your Documents Page l of l

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301 N Main Streei

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Hariford Lloyd's insurance Company
CT Corporation System

1999 Bryan Street

Sulte 900

Da||as TX 75201-3140

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C I TAT IlON

Cause Number: 17-01-00801

Clerk of the Court Attorney Requesting Service
Barbara Gladden Adamick Ana M. Ene
P.O. Box 2985 _ 2211 Norfolk St Ste 800
Conroe, Texas 77305 R?\§J% :% g § UHouston TX 77098

" 1 UW§

\Y\ \‘,\`THE s'rATE qu>TExAs §ff// ry
‘\ *" 109 @"3 )>
NOTICE TO DEFENDANT: You havefbeen sued. You mayzémploy an §ttorney. If
you or yourwattorney doesvnot file a(written{answer”w1th\the clerk who
issued this§citation by 10: OO’a. m. on the Mondandext(foIlowing§ the
expiratio§bof/twenty days after you were served this\ci€ation andcj?

petition, a default judgment may be taken against you. dp 1 ifp
0 O’ _ __’_> cry
C;~ f V' (¢{,/
To Hartford Lloyds Insurance Company \ {} » /j
Registered Agent CT Corporation{System AF:D ‘::?
:`1999)Bryan Street Suite 900 \ §§ ;;p
C:b Dallas TX 75201- 3140 C} (r->§ C:j

é§§bare hereé§ commanded to Mapp_ear by filing_ a* wr_itten answer to the

Plaintiff's Original\Petition at or before 10: 00 A. M. of the Monday next:._
after&éh§jexp1ration of\twenty days after the date off service of this: ccg
citation/before the Honorable 410th Judicial District Court Montgomery N_T

\...-_

County, iTexas at the Courthouse of said County in Conroe, Texas. /¢5 11

_-_» J
/ L......_i `

i
¢; ) '\»jy \\ ' §§ c-¢
Said Plaintiff's Original Petition was filed in said court on this;;the cqu
19th dayM of January, 2017 numbered 17- 01- -00801 on the docket of saidu gy$
court \and styled, Elizabeth Essery VS. Hartford Lloyds Insurance~CompanyD
// \ ‘ O QES

The~natu§e/of plaintiff' s demand/is fully shown by a true and correct‘copy
of P_laintiff's Original Petition accompanying\this citation and~made aqb

// 11
part¢:;§eof<J<;` C> z;f/ \\L C) A{<Y§\y Q§d

/
The off;%er ;;ecuting this writ shall promptly serve(the same according to

requirements of{lawR, and the mandates thereof, and make due<return as the
law directs? 5 S>b O. O Q\£B §§

"//, § // 0 0 0 @’_\ \
Issued and given/under my Fhand and seal of said CourtJat Conroe, Texas on
this the 20th day &6f>January, 2017. f qg§b

§§ _
J?/[§§ JH § {)-Barbarau Gl§dde?‘x}¢§damick, District Clerk

Mbntgomery County, Texas

By= CM?H\DMM emmij

Catherine Gant, Deputy

(SEAL)

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| 1

OFFICER’ S RETURN

Cause No. 17-01-00801 Court No: 410th Judicial District Court
Style: Elizabeth Essery VS. Hartford Lloyds Insurance Company
To: Hartford Lloyds Insurance Company

Address: Registered Agent CT Corporation System
1999 Bryan Street Suite

nallas Tx '/5\20\:-\3"j -3140\ '… U 9 g 1005/jj

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date of deli v1ery endorsedbthereon, together with the /accompanyin’g copy of
the Plaintiff' s Original Petition, at the fol-low€.)ng times\" and pl'aces, to

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Complete" if you are a person other than a Sheriff, Constable, or Clerk of the Court. In
accordance‘ with Rule 107: the officer, or authorized person who __services,{6r/attempts to
serve accitation/shalfl sign’*and return. The return must either be verified 161 be signed
under penalty hof*`perjury Aw return signed under penalty of perjury must 'c;"ntain: the
statement below in\substantially’ th%following form: R\\“

address is s/f’/) _ `\`;~C' h . __§\__\\
I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING "\I`S¢`TRUE AND CORRECT
Executed in yiny ,z County, State of .. n §\\ \`\,\Bon the day of

,20____.__"“_0!/§§5@[]11§3%%\3\>__“'

Declarant/Authori zed Proces s Server

 

 

ID# & Exp. Of Certification

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Reeeived and E-Filed for Reeord
' ‘ 1/19/201711:22:01AM

Barbara Gladden Adamiok

District Clerk

Montgomery County, Texas

17-01-00801
CAUSE NO.
ELIZABETH ESSERY, § IN THE DISTRICT COURT OF
Plaintiff, §viontgomery County - 410th Judicial District Court
§
vs. §
§ MONTGOMERY COUNTY, TEXAS
HARTFORD LLOYD'S INSURANCE §
coMPANY, §
§
Defendant. § JUDICIAL DISTRICT

PLAINTIFF’S ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:
Elizabeth Essery (“Ms. Essery”), Plaintiff herein, files this Original Petition against
Defendant Hartford Lloyd's Insurance Company (“Hartford”) and, in support of her causes of

action, Would respectfully show the Court the following:

I.
THE PARTIES
l. Elizabeth Essery is a Texas resident who resides in Montgomery County, Texas.
2. Hartford is an insurance company doing business in the State of Texas which may

be served through its registered agent for service of process in the State of Texas, CT
Corporation System, via certified mail at 1999 Bryan Street, Suite 900, Dallas, TX 75201-3140.

II.
DISCOVERY

3. This case is intended to be governed by Discovery Level 2.

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III.
CLAIM FOR RELIEF

4. The damages sought are within the jurisdictional limits of this court. Plaintiff
currently seeks monetary relief over $100,000, but not more than $200,000, including damages
of any kind, penalties, costs, expenses, pre-judgment interest, and attorney’s fees.

IV.
JURISDICTION AND VENUE

5. This court has subject matter jurisdiction of this cause of action because it
involves an amount in controversy in excess of the minimum jurisdictional limits of this Court.
No diversity of citizenship exists in this matter.

6. Venue is proper in Montgomery County because all or a substantial part of the
events or omissions giving rise to the claim occurred in Montgomery County. TEX. CIV. PRAC &
REM CODE § 15.002(a)(l). In particular, the loss at issue occurred in Montgomery County,

V.
FACTUAL BACKGROUND

7. Ms. Essery is a named insured under a property insurance policy issued by
Hartford.

8. On or about April 17, 2016 a storm hit the The Woodlands, Texas area, damaging
Ms. Essery’s house and other property. Ms. Essery subsequently filed a claim on her insurance
policy.

9. Defendant improperly denied and/or underpaid the claim.

10. The adjuster assigned to the claim conducted a substandard investigation and
inspection of the property, prepared a report that failed to include all of the damages that were
observed during the inspection, and undervalued the damages observed during the inspection

ll. This unreasonable investigation led to the underpayment of Plaintifi’s claim.

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12. Moreover, Hartford performed an outcome-oriented investigation of Plaintiff’s
claim, which resulted in a biased, unfair and inequitable evaluation of Plaintiff’s losses on the
property.

VI.
CAUSES OF ACTION

13. Each of the foregoing paragraphs is incorporated by reference in the following:
A. Breach of Contract
14. Hartford had a contract of insurance with Plaintiff. Hartford breached the terms
of that contract by wrongfully denying and/or underpaying the claim and Plaintiff was damaged
thereby.
B. Prompt Payment of Claims Statute
15. The failure of Hartford to pay for the losses and/or to follow the statutory time
guidelines for accepting or denying coverage constitutes a violation of Section 542.051 et seq. of
the Texas lnsurance Code.
16. Plaintiff therefore, in addition to Plaintiff’s claim for damages, is entitled to 18%
interest and attorneys’ fees as set forth in Section 542.060 of the Texas lnsurance Code.
C. Bad Faith/Deceptive Trade Practices Act (“DTPA”)
17. Defendant is required to comply with Chapter 541 of the 'I`exas lnsurance Code.
18. Defendant violated Section 541.051 of the Texas lnsurance Code by:
(l) making statements misrepresenting the terms and/or benefits of the policy.
19. Defendant violated Section 541.060 by:
(1) misrepresenting to Plaintiff a material fact or policy provision relating to

coverage at issue;

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(2)

(3)

(4)

(5)

failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim with respect to which the insurer’s liability had
become reasonably clear;

failing to promptly provide to Plaintiff a reasonable explanation of the
basis in the policy, in relation to the facts or applicable law, for the
insurer’s denial of a claim or offer of a compromise settlement of a claim;
failing within a reasonable time to affirm or deny coverage of a claim to
Plaintiff or submit a reservation of rights to Plaintiff; and

refusing to pay the claim without conducting a reasonable investigation

with respect to the claim;

20. Defendant violated Section 541.061 by:

(1) making an untrue statement of material fact;

(2) failing to state a material fact necessary to make other statements made not
misleading considering the circumstances under which the statements
were made;

(3) making a statement in a manner that would mislead a reasonably prudent
person to a false conclusion of a material fact;

(4) making a material misstatement of law; and

(5) failing to disclose a matter required by law to be disclosed.

21. At all material times hereto, Plaintiff was a consumer who purchased insurance

products and services from Defendant.

22. Defendant has violated the Texas DTPA in the following respects:

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(1) Defendant represented that the agreement confers or involves rights,
remedies, or obligations which it does not have, or involve, or which are
prohibited by law;

(2) Hartford failed to disclose information concerning goods or services
which was known at the time of the transaction when such failure to
disclose such information was intended to induce the consumer into a
transaction that the consumer would not have entered into had the
information been disclosed;

(3) Hartford, by accepting insurance premiums but refusing without a
reasonable basis to pay benefits due and owing, engaged in an
unconscionable action or course of action as prohibited by Section
17.50(a)(1)(3) of the DTPA in that Hartford took advantage of Plaintiff’s
lack of knowledge, ability, experience, and capacity to a grossly unfair
degree, that also resulted in a gross disparity between the consideration
paid in the transaction and the value received, in violation of Chapter 541
of the Texas lnsurance Code.

23. Defendant knowingly committed the acts complained of. As such, Plaintiff is
entitled to exemplary and/or treble damages pursuant to the DTPA and Texas lnsurance Code
Section 541 .152(a)-(b).

D. Attorneys’ Fees

24. Plaintiff engaged the undersigned attorney to prosecute this lawsuit against

Defendant and agreed to pay reasonable attorneys’ fees and expenses through trial and any

appeal.

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25. Plaintiff is entitled to reasonable and necessary attorney’s fees pursuant to Texas
Civil Practice and Remedies Code Sections 38.001-38.003 because she is represented by an
attorney, presented the claim to Defendant, and Defendant did not tender the just amount owed
before the expiration of the 30"‘ day after the claim was presented.

26. Plaintiff further prays that she be awarded all reasonable attorneys’ fees incurred
in prosecuting her causes of action through trial and any appeal pursuant to Sections 541 .152 and
542.060 of the Texas lnsurance Code.

VII.
CONDITIONS PRECEDENT

27. All conditions precedent to Plaintiff’s right to recover have been fully performed,
or have been waived by Defendant,

VIII.
DISCOVERY REQUESTS

28. Pursuant to Rule 194, you are requested to disclose, within fifty (50) days after
service of this request, the information or material described in Rule l94.2(a)-(l).

29. You are also requested to respond to the attached interrogatories, requests for
production, and requests for admissions within fifty (50) days, in accordance with the
instructions stated therein.

IX.
PRAYER

WHEREFORE, PREMISES CONSIDERED, Elizabeth Essery prays that, upon final
hearing of the case, she recover all damages from and against Defendant that may reasonably be
established by a preponderance of the evidence, and that Ms. Essery be awarded attorneys’ fees

through trial and appeal, costs of court, pre-judgment interest, post-judgment interest, and such

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other and further relief, general or special, at law or in equity, to which Ms. Essery may show

herself to be justly entitled.

Respectfully submitted,

DALY & BLACK, P.C.

By:

/s/ Ana M. Ene
Richard D. Daly
TBA No. 00796429

rdaly@dalyb|ack.com

ecfs@da|yb|ack.com
Ana M. Ene

TBA No. 24076368
am@ai§y@&<m

2211 Norfolk St., Suite 800
Houston, Texas 77098
713.655.1405_Telephone
713.655.1587-Fax

ATTORNEYS FOR PLAINTIFF
ELIZABETH ESSERY

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PLAINTIFF’S FIRST SET OF INTERROGATORIES,
REOUESTS FOR PRODUCTION AND REOUESTS FOR ADMISSIONS

COMES NOW Plaintiff in the above-styled and numbered cause, and requests that

Defendant (1) answer the following discovery requests separately and fully in writing under oath

within 30 days of service (or within 50 days of service if the discovery was served prior to the

date an answer is due); (2) produce responsive documents to the undersigned counsel within the

same time period; and (3) serve its answers to these discovery requests within the same time

period to Plaintiff by and through her attorneys of record: Richard D. Daly, John Black, Ana M.

Ene and William X. King, Daly & Black, P.C, 2211 Norfolk St, Suite 800, Houston, Texas

77098.

Respectfully submitted,

DALY & BLACK, P.C.

By:

/s/ Ana M. Ene
Richard D. Daly
TBA No. 00796429

rdaly_@dalyblack.com

ecfs@dalyblack.com
Ana M. Ene

TBA No. 24076368
aene@dalyblack.com

2211 Norfolk St., Suite 800
Houston, Texas 77098
713.655.1405-Telephone
713.655.1587_Fax

ATTORNEYS FOR PLAINTIFF
ELIZABETH ESSERY

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CERTIFICATE OF SERVICE

l hereby certify that I sent a true and correct copy of the attached discovery requests to
Defendant(s) as an attachment to the petition. Therefore, Defendant would have received it
when it was served with the citation.

/s/ Ana M. Ene
Ana M. Erie

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INSTRUCTIONS

A. These Responses call for your personal and present knowledge, as well as the present
knowledge of your attomeys, investigators and other agents, and for information
available to you and to them.

B. Pursuant to the applicable rules of civil procedure, produce all documents responsive
to these Requests for Production as they are kept in the usual course of business or
organized and labeled to correspond to the categories in the requests within the time
period set forth above at Daly & Black, P.C.

C. If you claim that any document or information which is required to be identified or
produced by you in any response is privileged, produce a privilege log according to
the applicable rules of civil procedure.

1. Identify the document’s title and general subject matter;

2. State its date;

3. Identify all persons who participated in its preparation;

4. Identify the persons for whom it was prepared or to whom it was sent;

5. State the nature of the privilege claimed; and

6. State in detail each and every fact upon which you base your claim for privilege
D. If you claim that any part or portion of a document contains privileged information,

redact only the part(s) or portion(s) of the document you claim to be privileged.

E. If you cannot answer a particular Interrogatory in full alter exercising due diligence to
secure the information to do so, please state so and answer to the extent possible,
specifying and explaining your inability to answer the remainder and stating whatever
information or knowledge you have concerning the unanswered portion.

F. You are also advised that you are under a duty to seasonany amend your responses if
you obtain information on the basis of which:

1. You know the response made was incorrect or incomplete when made; or
2. You know the response, though correct and complete when made, is no longer
true and complete, and the circumstances

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DEFINITIONS

A. “Defendant,” “You,” “Your(s),” refers to Hartford Lloyd's lnsurance Company, its
agents, representatives, employees and any other entity or person acting on its behalf.

B. “Plaintiff” refers to the named Plaintiff in the above-captioned suit.

C. “The Property(ies)” refers to the property or properties located at the address(es)
covered by the Policy.

D. “The Policy” refers to the policy issued to Plaintiff by the insurer and at issue in this
lawsuit.
E. “The Claim(s)” means the claim for insurance benefits submitted by Plaintiff and at

issue in this lawsuit, or in a prior claim, as the context may dictate

F. “Date of Loss” refers to the date(s) of loss identified in Plaintist live
petition/complaint or other written or oral notice, or otherwise assigned to the claim
by the insurer.

G. “Handle” or “Handled” means investigating, adjusting, supervising, estimating,
managing, settling, approving, supplying information or otherwise performing a task
or work with respect to the claim(s) at issue in this lawsuit, excluding purely
ministerial or clerical tasks.

H. “Lawsuit” refers to the above styled and captioned case

I. “Communication” or “communications” shall mean and refer to the transmission or
exchange of information, either orally or in writing, and includes without limitation
any conversation, letter, handwritten notes, memorandum, inter or intraoffice
correspondence, electronic mail, text messages, or any other electronic transmission,
telephone call, telegraph, telex telecopy, facsimile, cable, conference, tape recording,
video recording, digital recording, discussion, or face-to-face communication

J. The term “Document” shall mean all tangible things and data, however stored, as set
forth in the applicable rules of civil procedure, including, but not limited to all
original writings of any nature whatsoever, all prior drafts, all identical copies, all
nonidentical copies, correspondence, notes, letters, memoranda of. telephone
conversations, telephone messages or call slips, interoffice memoranda, intraoffice
memoranda, client conference reports, files, agreements, contracts, evaluations,
analyses, records, photographs sketches, slides, tape recordings, microfiche,
communications, printouts, reports, invoices, receipts, vouchers, profit and loss
statements, accounting ledgers, loan documents, liens, books of accounting, books of
operation, bank statements, cancelled checks, leases, bills of sale, maps, prints,
insurance policies, appraisals, listing agreements, real estate closing documents,
studies, summaries, minutes, notes, agendas, bulletins, schedules, diaries, calendars,

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logs, announcements, instructions, charts, manuals, brochures, schedules, price lists,
telegrams, teletypes, photographic matter, sound reproductions, however recorded,
whether still on tape or transcribed to writing computer tapes, diskettes, disks, all
other methods or means of storing data, and any other documents, In all cases where
originals, prior drafts, identical copies, or nonidentical copies are not available;
“document” also means genuine, true and correct photo or other copies of originals,
prior drafts, identical copies, or nonidentical copies, “Document” also refers to any
other material, including without limitation, any tape, computer program or electronic
data storage facility in or on which any data or information has been written or
printed or has been temporarily or permanently recorded by mechanical,
photographic, magnetic, electronic or other means, and including any materials in or
on which data or information has been recorded in a manner which renders in
unintelligible without machine processing

K. The term “referring” or “relating” shall mean showing, disclosing, averting to,
comprising evidencing, constituting or reviewing

L. The singular and masculine form of any noun or pronoun includes the plural, the
feminine, and the neuter.

M. The terms “identification,” “identify,” and “identity” when used in reference to:

l. Natural Persons: Means to state his or her full name, residential address, present or
last known business address and telephone number, and present or last known
position and business affiliation with you;

2. Corporate Entities: Means to state its full name and any other names under which it
does business, its form or organization, its state of incorporation, its present or last
known address, and the identity of the officers or other persons who own, operate, or
control the entity;

3. Documents: Means you must state the number of pages and nature of the document
(e.g. letter or memorandum), its title, its date, the name or names of its authors and
recipients, its present location and custodian, and if any such document was, but no
longer is, in your possession or control, state what disposition was made of it, the date
thereof, and the persons responsible for making the decision as to such disposition;

4. Communication: Requires you, if any part of the communication was written, to
identify the document or documents which refer to or evidence the communication
and, to the extent that the communication was non-written, to identify each person
participating in the communication and to state the date, manner, place, and substance
of the communication; and

5. Activity: Requires you to provide a description of each action, occurrence,
transaction or conduct, the date it occurred, the location at which it occurred, and the
identity of all persons involved.

N. The term "Claim File" means the claim files and “field file(s),” whether kept in
paper or electronic format, including but not limited to all documents, file jackets, file
notes, claims diary or journal entries, log notes, handwritten notes, records of oral

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communications, communications, correspondence, photographs, diagrams,
estimates, reports, recommendations, invoices, memoranda and drafts of documents
regarding the Claim.

O. The term "Underwriting File" means the entire file, including all documents and
information used for underwriting purposes even if you did not rely on such
documents or information in order to make a decision regarding insuring Plaintiff‘s
Property.

NOTICE OF AUTHENTICATION

You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
documents exchanged and produced between the parties, including but not limited to
correspondence and discovery responses during the trial of the above-entitled and numbered
cause

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INTERROGATORIES TO DEFENDANT HARTFORD

INTERROGATORY NO. 1:
Identify all persons answering or supplying any information in answering these interrogatories

ANSWER:

INTERROGATORY NO. 2:
Identify all persons who were involved in evaluating Plaintiff’s claim and provide the following
information for each person you identify:

a. their name and job title(s) as of the Date of Loss;
b. their employer; and
c. description of their involvement with Plaintiff`s Claim.

ANSWER:
INTERROGATORY NO. 3:

If you contend that the some or all of the damages to the Property were not covered losses under
the Policy, describe:

a. the scope, cause and origin of the damages you contend are not covered losses
under the Policy; and
b. the term(s) or exclusion(s) of the Policy you relied upon in support of your

decision regarding the Claim.
ANSWER:

INTERROGATORY NO. 4:
State whether the initial estimate you issued was revised or reconciled, and if so, state what was

changed and who did it.
ANSWER:

lNTERROGATORY NO. 5:

If you contend that Plaintiff did not provide you with requested information that was required to
properly evaluate Plaintist Claim, identify the information that was requested and not provided,
and the dates you made those request(s).

ANSWER:
INTERROGATORY NO. 6:
If you contend that Plaintiff’s acts or omissions voided, nullified, waived or breached the Policy

in any way, state the factual basis for your contention(s).

ANSWER:

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INTERROGATORY NO. 7 :
If you contend that Plaintiff failed to satisfy a condition precedent or covenant of the Policy in
any way, state the factual basis for your contention(s).

ANSWER:

INTERROGATORY NO. 8:
Identify the date you first anticipated litigation

ANSWER:

INTERROGATORY NO. 9:
State the factual basis for each of your affirmative defenses

ANSWER:

INTERROGATORY NO. 10:
If you contend that Plaintiff failed to provide proper notice of the claim made the basis of this
lawsuit, describe how the notice was deficient, and identify any resulting prejudice

ANSWER:

INTERROGATORY NO. ll:
If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do so,
and identify any resulting prejudice

ANSWER:
INTERRO GATORY NO. 12:

Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
depreciation, stating for each item the criteria used and the age of the item.

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REOUEST FOR PRODUCTION TO DEFENDANT HARTFORD

REQUEST FOR PRODUCTION NO. 1

Produce a certified copy of all Policies you issued to Plaintiff for the Property that were in effect
on the Date of Loss.

RESPONSE:

REOUEST FOR PRODUCTION NO.JZ

lf you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce a certified copy of all policies you issued to
Plaintiff for the Property that were in effect during the handling of those claim(s).

RESPONSE:

REOUEST FOR PRODUCTION NO. 3
Produce a copy of the declarations pages you issued for the Property in the three (3) years
preceding the Date of Loss.

RESPONSE:

REOUEST FOR PRODUCTION NO. 4
Produce your complete Underwriting File for Plaintiff’s policy of insurance with you.

RESPONSE:

REOUEST FOR PRODUCTION NO. 5
Produce the complete Claim File including all documents and communications regarding the

Claim.
RESPONSE:
REOUEST FOR PRODUCTION NO. 6
Produce the Claim Files regarding the Claim of any third-party you hired and/or retained to

investigate, consult on, handle and/or adjust the Claim.

RESPONSE:

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REOUEST FOR PRODUCTION NO. 7

If you contend that any prior claims Plaintiff submitted for damages to the Property affected your
decision in relation to the Claim at issue, produce the complete Claim File regarding those prior
claim(s).

RESPONSE:

REQUEST FOR PRODUCTION NO. 8

Produce all documents Plaintiff (or any other person) provided to you related to the Claim or the
Property.

RESPONSE:

REOUEST FOR PRODUCTION NO. 9
Produce all documents you provided to Plaintiff (or any other person) related to the Claim or the
Property.

RESPONSE:

REOUEST FOR PRODUCTION NO. 10
Produce all documents (including reports, surveys, appraisals, damage estimates, proof of loss,
or adjuster’s report(s)) referring to the Claim, the Property or damage to the Property.

RESPONSE:
REOUEST FOR PRODUCTION NO. 11
Produce color copies of all visual reproductions of the Property taken either prior to, at the time
of, or after the Date of Loss (including diagrams, drawings, photographs, video records,
videotapes, or other information).

RESPONSE:

REQUEST FOR PRODUCTION NO. 12

The file from the office of Plaintiff's insurance agent concerning Plaintiffs Property.

RESPONSE:

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RE UEST FOR PRODUCTION NO. 13

Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the investigation,
handling, and settlement of Plaintiff’s Claim.

RESPONSE:

REOUEST FOR PRODUCTION NO. 14

Produce all written communications you sent to, or received from, any independent adjusters,
engineers, contractors, estimators, consultants or other third-parties who participated in
investigating, handling, consulting on, and/or adjusting Plaintiffs Claim.

RESPONSE:

REQUEST FOR PRODUCTION NO. 15

Produce all written and/or electronic communications you sent to, or received from, Plaintiff’s
insurance agent related to the Claim, the Property, the Plaintiff or this Lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 16
Produce all written and/or electronic communications you sent to, or received from, any local,
state, or governmental entity related to the Claim, the Property, the Plaintiff or this Lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 17
Produce all written and/or electronic communications you sent to, or received, from Plaintiff
and/or any other named insured on the Policy related to the Claim, the Property, or this Lawsuit.

RESPONSE:

REOUE_ST FOR PRODUCTION NO. 18

Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in
evaluating damage to Plaintiff’s Property, including performance reviews/evaluations, This
request is limited to the three (3) years prior to the Date of Loss and one (1) year after the Date
of Loss.

RESPONSE:
REOUEST FOR PRODUCTION NO. 19
Produce your claim handling manual(s) (including operating guidelines) in effect on the Date of
Loss related to your claims practices, procedures and standards for property losses and/or wind

and hail storm claims, for persons handling claims on your behalf.

RESPONSE:

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REQUEST FOR PRODUCTION NO. 20

Produce your property claims training manual and materials in effect on the Date of Loss, for
persons handling, investigating and adjusting claims.

RESPONSE:

REOUEST FOR PRODUCTION NO. 21

Produce all bulletins, notices, directives, memoranda, internal newsletters, publications, letters
and alerts directed to all persons acting on your behalf that were issued from six (6) months
before and after the Date of Loss related to the handling of wind or hail storm claims in
connection with the storm at issue,

RESPONSE:

REOUEST FOR PRODUCTION NO. 2_2_

Produce the contract(s), agreement(s) and/or written understanding(s) with any independent
adjusters or adjusting firms who you retained to investigate, handle and/or adjust Plaintiff’s
Claim on your behalf that were in effect on the Date of Loss.

RESPONSE:

REOUEST FOR PRODUCTION NO.jZ.‘)
Produce the contract(s), agreement(s) and/or written understanding(s) with any engineers and/or
engineering firms you retained to investigate, handle and/or adjust Plaintiff’s Claim on your
behalf that were in effect at the time of his/her investigation, handling and/or adjustment of
Plaintiff’s claim, either pre or post-lawsuit.

RESPONSE:

REOUEST FOR PRODUCTION NO. 24
Produce the “Pay sheet,” “Payment Log,” or list of payments made on Plaintiff’s Claim,
including all indemnity, claim expenses and payments made to third-parties

RESPONSE:
REOUEST FOR PRODUCTION NO. 25
Produce all billing statements, including billing detail, showing the amounts you paid or for
which you were billed by any independent adjusters or adjusting firms who inspected Plaintiff’s

Property in connection with the Claim.

RESPONSE:

12

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REQUEST FOR PRODUCTION NO. 26

Produce all billing detail showing the amounts you paid or for which you were billed by any
engineer and/or engineering firm who inspected Plaintiff’s Property in connection with the
Claim, whether pre or post-lawsuit.

RESPONSE:

REQUEST FOR PRODUCTION NO. 27

Produce all estimates, reports or memoranda, including drafts of the same, created for you or by
any independent adjusters or adjusting firms in connection with the Claim.

RESPONSE:

RM)UEST FOR PRODUCTION NO. 28
Produce all estimates, reports, or memoranda, including drafts of the same, created for you by
any engineers and/or engineering firms in connection with the Claim.

RESPONSE:

REQUEST FOR PRODUCTION NO. 29
Produce all statements given by anyone, oral or written, to you or any of your agents, related to
Plaintiffs Claim and/or any issue in Plaintiff’s live petition

RESPONSE:

REQUEST FOR PRODUCTION NO. 30

Pursuant to the applicable rules of evidence, produce all documents evidencing conviction of a
crime which you intend to use as evidence to impeach any party or witness.

RESPONSE:

REQUEST FOR PRODUCTION NO. 31
Produce all documents you identified, referred to, or relied upon in answering Plaintiff’s
interrogatories

RESPONSE:
REOUEST FOR PRODUCTION NO. 32
Produce all non-privileged documents you identified, referred to, or relied upon in developing,
answering and/or formulating your Answer and/or Affirmative Defenses to Plaintiffs live

petition.

RESPONSE:

13

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REOUEST FOR PRODUCTION NO. 33 ~
Produce copies of all documents you intend to offer as evidence at the trial of this matter.

RESPONSE:

REOUEST FOR PRODUCTION NO. 34
Produce copies of all documents relating to your declaration of the storm alleged to have caused
damage to Plaintiff's Property as a "catastrophe."

RESPONSE:

REQUEST FOR PRCDUCTION NO. 35

Produce copies of your engagement letter/fee agreement between you (or whatever entity or
person is paying your attorney‘s fee bills) and your attorneys in this matter.

RESPONSE:

REOUEST FOR PRODUCTION NO. 36
Produce copies of your attomey's[s'] fee bills in this matter.

RESPONSE:

REOUEST FOR PRODUCTION NO. 37
lf this claim involves reinsurance, produce copies of the policy or agreement pertaining to that
reinsurance

RESPONSE:
REOUEST FOR PRODUCTION NO. 38
If an attorney was involved in evaluating payment or coverage of Plaintiffs Claim pre-suit,

provide all documents relating to that evaluation or recommendation

RESPONSE:

14

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REMJ'EST FOR ADMISSIONS TO DEFENDANT HARTFORD

REQUEST FOR ADMISSION NO. 1:

Admit that on Date of Loss the Property sustained damages caused by a windstorm.
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REQUEST FOR ADMISSION NO. 2:
Admit that on Date of Loss the Property sustained damages caused by a hailstorrri

RESPONSE:

REQUEST FOR ADMISSION NO. 3:

Admit that as of the Date of Loss the Policy was in full force and effect.

RESPONSE:

REQUEST FOR ADMISSION NO. 4:

Admit that as of the Date of Loss all premiums were fully satisfied under the Policy.

BE_S_PQ§E_=

REQUEST FOR ADMISSION NO. 5:

Admit that the Policy is a replacement cost value policy.
RESPONSE:

REOUEST FOR ADMISSION NO. 6:
Admit that the Policy is an actual cash value policy.

BE_S_PQQQ

REQUEST FOR ADMISSION NO. 7:
Admit that aside from the Claim at issue, Plaintiff has never previously submitted a claim to you
for damage to the Property.

BE_S_I£N_S_IL
REOUEST FOR ADMISSION NO. 8:
Admit that you did not request a Swom Proof of Loss from Plaintiff in connection with the

Claim at issue

RESPONSE:

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RE§ !UEST FOR ADMISSION NO. 9:

Admit that you did not request a Swom Proof of Loss from any other named insured on the
Policy in connection with the Claim at issue

RESPONSE:

REOUEST FOR ADMISSION NO. 10:
Admit that Plaintiff timely submitted the Claim.

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REQUEST FOR ADMISSION NO. 11:

Admit that your decision to deny or partially deny Plaintiffs Claim was made in whole or in part
on the basis that third parties were responsible for causing damages to the Property.

RESPONSE:

REOUEST FOR ADMISSION NO. 12:
Admit that Defendant’s decision to deny or partially deny Plaintiff’s Claim Was made in Whole
or in part on the basis that the claimed damages are not covered by the Policy.

RESPONSE:

REOUEST FOR ADMISSION NO. 13:
Admit that Defendant’s decision to deny or partially deny Plaintiff’ s Claim was made in whole
or in part on the timeliness of the Claim’s submission.

RESPONSE:

REQUEST FOR ADMISSION NO. 14:

Admit that you depreciated the costs of labor when determining the actual cash_value of the
Claim at issue

RESPONSE:
REOUEST FOR ADMISSION NO. 15:
Admit that the adjuster assigned to investigate the Claim did not review the underwriting file at

any time during the adjustment of the Claim.

RESPONSE:

16

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REOUEST FOR ADMISSION NO. 16:
Admit that the Claim was reviewed by persons other than people who actually inspected the
Property.

RESPONSE:

RM)UEST FOR ADMISSION NO. 17:
Admit that you reinsured the risk under Plaintiff’s Policy.

RESP ONSE:

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